Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 1 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

AARON HAGELE, ANDREW
SARCINELLA, JR., and AASH
SERVICES, LLC

Plaintiffs,

Vv.

SHELL OIL COMPANY, PMI
SERVICES NORTH AMERICA
INC., and DEER PARK REFINING
LIMITED PARTNERSHIP,

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Defendants.

VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF
RELATED TO ACQUISITION OF THE DEER PARK REFINERY
PURSUANT TO THE CLAYTON ACT

Plaintiffs Aaron Hagele, Andrew Sarcinella, Jr., and AASH Services, LLC,
with their lawyers, Langone Law LLC and James P. Batson, Esq., bring this action
to enjoin the proposed acquisition of the Deer Park Refinery and verify in support as
follows;
I. Nature of the Action

1. The Deer Park Refinery is a petroleum refinery located in this judicial
district that was commissioned in 1929 and has been operated by Defendant
Deer Park Refining Limited Partnership (“DPRLP”) since 1993.

2. Defendants Shell Oil Company (“Shell”) and Defendant PMI Services North

America Inc. (“PMI”) compete in the United States gasoline market.
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 2 of 11

3. PMI and Shell have entered into an agreement related to the acquisition of
the Deer Park Refinery.

4. Shell seeks to divest its interest in the refinery and DPRLP.

5. PMI is a subsidiary of Petroleos Mexicanos (“PEMEX”).

6. On or about May 24, 2021, PMI’s intention to acquire control of the Deer
Park Refinery was announced.

7. On June 21, 2021, United States Member of Congress Brian Babin, who
represents the congressional district where the Deer Park Refinery is located,
sent a letter to the United States Secretary of Treasury and United States
Secretary of Energy about the acquisition. See Exhibit A.

8. This letter expressed concerns about the acquisition and requested that the
Committee on Foreign Investment in the United States (CFIUS) deny the
sale of Shell’s interest in DPRLP.! Id.

9. On July 20, 2021, United States Senators John Cornyn and Ted Cruz from
Texas, along with eighteen other members of Congress, sent a letter to the
President of the United States expressing concerns about anti-competitive
behavior by PEMEX. See Exhibit B.

10. Then on November 17, 2021, Texas Governor Greg Abbott sent a letter to the

President of the United States expressing concerns that the anti-competitive

 

1 Under the status quo, the closing of the sale has been delayed pending approval by the CFIUS.
Defendants will suffer no harm if a temporary restraining order is granted now because the sale is
currently delayed and Shell staff that are proposed to transition the refinery are in place now and
would be in the near future. See Exhibit F.

2
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 3 of 11

conduct of PEMEX is causing irreparable harm in the United States. See
Exhibit C.

11.The President of the United States and his administration have recently
expressed their own concerns about anticompetitive behavior in the United
States gasoline market. See Exhibit D and Exhibit E.

12.The proposed Deer Park Refinery transaction will lessen competition in the
United States gasoline market.

13. Gasoline refined at the Deer Park Refinery will be allocated to the Mexican
market despite the market inefficiency and higher prices that will result from
this allocation. See Exhibit F.

14.The proposed Deer Park Refinery transaction is an agreement for output
reduction of gasoline to the United States market and an agreement to
allocate gasoline to the Mexican market.

15. The Deer Park Refinery refines over 300,000 barrels-per-day of oil.

16. The Deer Park Refinery is responsible for refining about two percent of the
crude oil in the United States.

17.The acquisition, if consummated, would significantly reduce the supply of
gasoline in the United States.

18. The acquisition will have the effect of permanently raising gasoline prices
and energy prices for consumers and businesses like Plaintiff and his

businesses.
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 4 of 11

19. Accordingly, the proposed acquisition will violate the antitrust laws including
Section 7 of the Clayton Act, as amended, 15 U.S.C. § 18, by having the
substantial effect to lessen competition.

II. Jurisdiction, Venue and Standing for Plaintiff

20. This action is filed pursuant to Section 16 of the Clayton Act, as amended, 15
U.S.C. § 26, to obtain equitable relief to prevent a violation of the antitrust
laws including Section 7 of the Clayton Act, as amended, 15 U.S.C. § 18.

21.Defendants produce, transport and market gasoline, commercial activity that
substantially affects and is in the flow of interstate commerce.

22.The Court has jurisdiction over the subject matter of this action and
jurisdiction over the parties pursuant to 15 U.S.C. §26 and 28 U.S.C. §§ 1331
and 1337.

23. Plaintiffs Aaron Hagele and Andrew Sarcinella, Jr. are citizens of the United
States and the State of New York.

24. Plaintiff AASH Services, LLC is a New York limited liability company which
owns and operates a retail coin-operated laundromat business located in Mt.
Vernon, New York.

25. Plaintiffs Hagele and Sarcinella are consumers of gasoline in the United
States.

26. Higher gasoline prices in the United States increase Plaintiffs Hagele’s and

Sarcinella’s costs of living.
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 5 of 11

27. Plaintiffs Hagele and Sarcinella are the two members of AASH Services,
LLC, and are small businessmen and own interests in the energy-dependent
laundry business.

28. Increased variable costs of energy reduce Plaintiffs’ business profits in an
incalculable but evident manner and threaten the entire value proposition
and investment in this energy-cost-dependent business.

29. Profits in Plaintiffs’ peculiar business are irretrievably lost as gasoline prices
increase and raise energy costs.

30. Energy costs are particularly important in the laundry industry and are
higher than those of comparable small businesses. As a result, the laundry
industry is particularly sensitive to increases in energy costs.

31. Plaintiffs’ business will lose incalculable business goodwill and customers if
higher laundry prices are spurred by higher gasoline prices and energy costs.

32. Plaintiffs will suffer an irreparable antitrust injury in the form of extremely
serious and difficult or impossible to calculate lost profits because the
proposed transaction will structurally reduce output of gasoline in the United
States permanently and thus result in continuing higher prices for the scarce
and diminishing commodity of gasoline which will lead to higher energy costs
and then diminished profit margins, sale of physical assets, and permanently
altered commercial arrangements including lost vendor contracts and

resulting lost jobs related to Plaintiff's business interests.?

 

?Money damages also may not be available after closing due to certain legal doctrines and/or
insolvency of PEMEX.

5
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 6 of 11

33. Plaintiffs will by injured by the harm of reduced demand for laundry services
that will be caused by higher gas prices because consumers will be forced to
choose between necessities, limit discretionary spending, and will likely buy
gas and food before laundry services. Profits in the U.S. laundry business are
directly linked to the U.S. Gasoline Price Index. These damages to Plaintiff
will be difficult or impossible to calculate or collect.

III. Defendants

34.Shell Oil Company is a Delaware corporation with a principal place of
business in Houston, Texas.

35. The registered agent of Shell is CT Corporation at 1999 Bryan Street, Dallas,
TX 75201.

36. Shell branded gasoline has approximately 12% of the gasoline market in the
United States.

37.The gasoline market share of Shell is almost twice that of any of competitor
in the gasoline oligopoly market in the United States.

38. PMI Services North America Inc. is a Delaware corporation with a principal
place of business in Houston, Texas.

39. Deer Park Refining Limited Partnership is headquartered in Deer Park,
Texas.

IV. The Acquisition Will Lessen Competition in the U.S. Gasoline Market

40. The relevant geographic market for gasoline is the United States.
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 7 of 11

41.Gasoline in the United States is a relevant market (i.e., a line of commerce
and a section of the country) within the meaning of Section 7 of the Clayton
Act.

42.In May of 2021, PMI announced its intent to purchase Shell’s interest in the
Deer Park Refinery.

43. The transaction would have the following anticompetitive effects, among
others: (1) gasoline produced at the Deer Park Refinery would be allocated to
the Mexican market; (2) gasoline output to the United States market would
be reduced; (8) rivals in the United States gasoline market will be prevented
from obtaining gasoline from this refinery altogether; (4) rivals will be
forestalled from acquiring the asset; (5) entry into the gasoline market will be
more difficult since entrants will face the increased cost of building new
refining facilities rather than acquiring existing refining capacity which is
more affordable than new refinery construction; (6) the acquisition will
increase the need for the imports of oil for gasoline production in the United
States; and (7) prices for gasoline in the United States would increase.

44,The Deer Park Refinery sometimes produces about 2.5% of the daily refined
gasoline in the United States.

45.The production of gasoline at the Deer Park Refinery is more than a de
minimis amount of production in the United States gasoline market.

46. The acquisition forecloses the ability of an independent competing refiner to

acquire the Deer Park refinery asset and will give control of the refinery to an
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 8 of 11

anti-competitive commercial actor, PEMEX, that rejects free market
competition, embraces monopolization and has a history of expropriation,
corruption and dishonor of contracts thus prices for gasoline in the United
States — in which Shell is the dominant player in the oligopoly - will continue
to rise. See Exhibits A, B, C, D, E and F.

47.Certain practices, such as unreasonable restraints on trade, e.g. market
allocation and output reduction, have historically been adjudged under the
per se rule, meaning that the conduct is so pernicious it is conclusively
presumed to unreasonably lessen competition and no justification can be
considered. See, e.g., Northern Pacific Railway Co. v. United States, 356 U.S.
1 (1958).

48. The proposed acquisition is an unreasonable restraint of trade that allocates
and limits geographic marketing areas for gasoline and allocates and limits
customers for gasoline for sale and purchase and is a per se violation of the
antitrust laws.

49. The effect of this proposed acquisition of the Deer Park Refinery by PMI
would be to substantially lessen competition in interstate trade and
commerce, in violation of Section 7 of the Clayton Act.

50.As a result, the proposed acquisition will have a substantial impact on the
supply on gasoline and natural gas in the U.S., which will cause Plaintiffs’

gasoline and energy costs to significantly increase.
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 9 of 11

V. Prayer for Relief

51. Plaintiffs request and pray for relief in the form of judgment in their favor
against Defendants including (A) adjudication that proposed acquisition of the Deer
Park Refinery would violate the antitrust laws including Section 7 of the Clayton
Act; (B) a temporary restraining order to preserve the status quo and delay closing
of the transaction for fourteen days or longer on good cause shown or consent by
Defendants; (C) an order for expedited discovery to be produced, including all ESI
and documents provided by Defendants to the Federal Trade Commission and the
Commission on Foreign Investment in the United States about the Deer Park
Refinery acquisition, prior to the preliminary injunction hearing; (D) preliminary
and permanent injunctive relief (1) preventing the consummation of the proposed
acquisition or (2) ordering divestiture of PMI’s interest in DPRLP if the transaction
closes; (D) an award of attorney’s fees and costs of this action; and (E) such other

relief as is proper.

Respectfully Submitted,

/s|_ _ Mark T. Lavery
One of Plaintiff's Lawyers

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Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 10 of 11

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VERFICATION OF AARON HAGELE
I, Aaron Hagele, verify on behalf of myself and AASH Services, LLC, under
penalty of perjury that to the best of my knowledge, information and belief, the
allegations in this VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF
RELATED TO ACQUISITION OF THE DEER PARK REFINERY

PURSUANT TO THE CLAYTON ACT are true and correct.

Executed: December 16, 2021

AW

Aaron Hagele

 

10
Case 4:21-cv-04103 Document 2 Filed on 12/16/21 in TXSD Page 11 of 11

VERFICATION OF ANDREW SARCINELLA, JR.

 

I, Andrew Sarcinella, Jr., verify on behalf of myself and AASH Services, LLC,
under penalty of perjury that to the best of my knowledge, information and belief,
the allegations in this VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF
RELATED TO ACQUISITION OF THE DEER PARK REFINERY

PURSUANT TO THE CLAYTON ACT are true and correct.

Executed: December 16, 2021

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Andrew Sarcinella, Jr.

 

11
